                Case 22-11068-JTD              Doc 1422        Filed 05/04/23         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (JTD)

         Debtors.                                              (Jointly Administered)

                                                               Ref. Nos. 233, 487, 751 & 1342


                  NOTICE OF REVISED LEDGERX PROPOSED SALE ORDER
                     AND REVISED SEALED DISCLOSURE SCHEDULES

                PLEASE TAKE NOTICE that on December 15, 2022, FTX Trading Ltd. and its
affiliated debtors and debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry
of Orders (I)(A) Approving Bid Procedures, Stalking Horse Protections and the Form and Manner
of Notices for the Sale of the Certain Businesses; (B) Approving Assumption and Assignment
Procedures and (C) Scheduling Auction(s) and Sale Hearing(s) and (II)(A) Approving the Sale(s)
Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Authorizing Assumption and
Assignment of Executory Contracts and Unexpired Leases [D.I. 233] in the United States
Bankruptcy Court for the District of Delaware (the “Court”).

              PLEASE TAKE FURTHER NOTICE that on January 12, 2023, the Court
entered the Order (A) Approving Bid Procedures, Stalking Horse Procedures and the Form and
Manner of Notices for the Sale of Certain Businesses, (B) Approving Assumption and Assignment
Procedures and (C) Scheduling Auction(s) and Sale Hearing(s) [D.I. 487].

               PLEASE TAKE FURTHER NOTICE that on February 21, 2023, the Debtors
filed the Notice of Filing of (I) Proposed LedgerX Business Sale Order and (II) Form of LedgerX
Business Purchase Agreement [D.I. 751], attaching as Exhibit 1 thereto a proposed form of sale
order for the LedgerX Business.

              PLEASE TAKE FURTHER NOTICE that on April 25, 2023, the Debtors filed
the Notice of (I) Successful Bidder for the LedgerX Business and (II) Filing of the LedgerX
Business Purchase Agreement [D.I. 1342] (the “Notice of Successful Bidder”), attaching as
Exhibit A thereto the executed version of the Interest Purchase Agreement with M 7 Holdings,
LLC and Miami International Holdings, Inc. (the “Purchase Agreement”), including a redacted
version of disclosure schedules (the “Disclosure Schedules”) to the Purchase Agreement.


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0070759.}
                Case 22-11068-JTD      Doc 1422     Filed 05/04/23     Page 2 of 2




Additionally, attached as Exhibit B to the Notice of Successful Bidder, the Debtors filed a revised
proposed form of sale order for the LedgerX Business (the “Proposed LedgerX Sale Order”).

               PLEASE TAKE FURTHER NOTICE that the Debtors have unredacted certain
information contained in the Disclosure Schedules, and a revised copy of the redacted Disclosure
Schedules is attached hereto as Exhibit A. The Debtors have also further revised the Proposed
LedgerX Sale Order (the “Revised LedgerX Sale Order”), a copy of which is attached hereto as
Exhibit B-1. A copy of the Revised LedgerX Sale Order compared against the Proposed LedgerX
Sale Order is attached hereto as Exhibit B-2.

                 PLEASE TAKE FURTHER NOTICE that copies of the above referenced
filings may be obtained from the Court’s website, https://ecf.deb.uscourts.gov/, for a nominal
fee, or obtained free of charge by accessing the website of the Debtors’ claims and noticing agent
at https://restructuring.ra.kroll.com/FTX/.


Dated: May 4, 2023                         LANDIS RATH & COBB LLP
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{1368.002-W0070759.}                       -2-
